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 7   Attorneys for Movant

 8
                         IN THE UNITED STATES BANKRUPTCY COURT
 9
                                 FOR THE DISTRICT OF ARIZONA
10
      Louis Allen Hinchey and Rachel Theresa             Case No. 2:18-bk-10024 MCW
11    Hinchey,                                           Chapter 7
12
                           Debtors.                      MOTION FOR RELIEF FROM
13                                                       AUTOMATIC STAY
14
      U.S. Bank National Association,
15                                                       Re: Real Property Located at:
16                         Movant,                       3312 E. Russell Street
                                                         Mesa, AZ 85213
17    v.
18
      Louis Allen Hinchey and Rachel Theresa
19    Hinchey, Debtors, and Lothar Goernitz,
20    Trustee,

21                         Respondents.
22
23
            Movant hereby requests an order granting relief from the automatic stay of 11 U.S.C.
24
     § 362(a), to permit Movant to foreclose the lien of its Deed of Trust on real property owned by
25
     the Debtors in possession, by trustee’s sale, judicial foreclosure proceedings or the exercise of
26
     the power of sale, and to obtain possession and control of the real property.
27
            This motion is supported by the attached Memorandum of Points and Authorities, which
28
     is incorporated herein by this reference.

                                                     1

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 1                          MEMORANDUM OF POINTS AND AUTHORITIES
 2           On 08/20/2018, Louis Allen Hinchey and Rachel Theresa Hinchey (“Debtors”) filed a
 3   voluntary petition for protection under Chapter 7 of the Bankruptcy Code. Lothar Goernitz
 4   (“Trustee”) was appointed trustee of the bankruptcy estate. On 01/02/2019, the Debtors were
 5   granted a discharge under Section 727 of Title 11 of the United States Bankruptcy Code. The
 6   Trustee and bankruptcy estate have an interest in certain real property located in Maricopa
 7   County, at 3312 E. Russell Street, Mesa, AZ 85213, and more legally described as:
 8
 9           LOT 832, OF LEHI CROSSING PHASE 6, ACCORDING TO THE PLAT OF
             RECORD IN THE OFFICE OF THE COUNTY RECORDER OF MARICOPA
10           COUNTY, ARIZONA, RECORDED IN BOOK 1168 OF MAPS, PAGE 19 AND
11           AN AFFIDAVIT OF CORRECTION RECORDED DECEMBER 23, 2014 AS
             2014-0843591, OF OFFICIAL RECORDS.
12
13           U.S. Bank National Association (“Movant”) is the holder and/or servicer of a
14   Promissory Note which is secured by a Deed of Trust, dated 08/30/2016, and recorded in the
15   Office of the Maricopa County Recorder’s Office on 08/31/2016 as Document No.
16   20160632720. Movant is the assignee of the Deed of Trust. True copies of the Note, Deed of
17   Trust and Assignments are attached hereto as Exhibits “A”, “B” and “C,” respectively.
18           Debtors are in default on their obligation to Movant for which the property is security,
19   and payments are due under the Promissory Note from and after 8/1/2019. The current default
20
     amount is set forth below:
21
             2 Monthly Payments at $1480.83                                                         $2961.66
22           (8/1/2019 – 9/1/2019)
23           TOTAL ARREARS:                                                                         $2961.66

24   *To the extent Attorneys’ Fees have been requested herein, the fees requested are based upon the Movant’s fee schedule
     relating to Movant’s loans. Any Attorneys’ Fees requested herein have been reviewed and approved by the undersigned and
25   are in compliance with the Bankruptcy Code and any applicable agreements and as required by the Court assigned to this
     matter.
26
27
28


                                                               2

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 1          Furthermore, a payment becomes due on the 1st day of every month thereafter, and a late
 2   charge becomes due on any payment not paid within fifteen (15) days from the date the
 3   monthly payment is due.
 4          Movant is informed and believes and therefore alleges that the Debtors and estate have
 5   no equity in the Property; that the Property is not necessary to an effective reorganization in
 6   light of the amount of equity in relationship to Movant’s lien remaining unpaid on the Property;
 7   and that the Property, rents, issues and profits there from are burdensome and of
 8   inconsequential value to the estate.
 9          Further, Movant is informed and believes and therefore alleges that the Debtors and the
10   estate are not adequately protected based upon the Debtors’ failure to make payments on a
11
     timely basis.
12
            As of 9/17/2019, Debtors are indebted to the Movant in the total amount of $240,041.27,
13
     plus accruing interest, costs and attorneys’ fees.
14
                                              CONCLUSION
15
            Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The
16
     promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly
17
     or through an agent, has possession of the promissory note. Creditor is the original mortgagee
18
19   or beneficiary or the assignee of the mortgage or deed of trust.

20          The Documentation provided is in support of the right to seek lift of stay and to

21   foreclose or proceed with a trustee’s sale if necessary. Movant requests that the Court enter an

22   order vacating the automatic stay of 11 U.S.C. § 362(a), waiving the 14-day stay requirement
23   imposed by FRBP 4001(a)(3) and allowing Movant to immediately enforce and implement the
24   order for relief from the automatic stay as to the Debtor, the bankruptcy estate, the property,
25   and Movant. Movant requests the order permit Movant to foreclose the lien of its Deed of
26   Trust; to evict the Debtors and/or successors of Debtors; to obtain ownership, possession and
27   control of the Property; and to communicate directly with the Debtors through notices required
28   by state law with regard to a potential Forebearance Agreement, Loan Modification, Refinance

                                                      3

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 1   Agreement, Loss Mitigation Agreement, or other Loan Workout. Movant further requests that
 2   any Order shall remain in effect in any bankruptcy chapter to which the Debtors may convert.
 3          DATED this 27th day of September, 2019.
 4
                                              /s/ Alex Schulz
 5                                            Christina Harper, Esq.
 6                                            Alex Schulz, Esq.
                                              THE MORTGAGE LAW FIRM, PC
 7                                            2999 N. 44th Street, Suite 625
 8                                            Phoenix, AZ 85018
                                              Attorneys for U.S. Bank National Association
 9
10
11   ORIGINAL e-filed by ECF
12   and copies mailed this 27th day of
     September, 2019, to:
13
14   LOUIS ALLEN HINCHEY
     3312 E. RUSSELL STREET
15   MESA, AZ 85213
16   RACHEL THERESA HINCHEY
17   3312 E. RUSSELL STREET
     MESA, AZ 85213
18   Debtors
19
     STUART J. PETERSON
20   The Peterson Law Firm
     4700 S. Mill Avenue Suite 5
21   Tempe, AZ 85282
22   Debtors’ Counsel

23   LOTHAR GOERNITZ
     P.O. BOX 32961
24   PHOENIX, AZ 85064-2961
25   Trustee

26   /s/    Janette Belmontes
27
28


                                                   4

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